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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                    MONROE DIVISION

LLOYD PRICE                               NO.    3:17-cv-01069 RGJ-KLH

VERSUS                                    JUDGE DOUGHTY

WAL-MART LOUISIANA, LLC, ET AL MAGISTRATE JUDGE PEREZ-MONTES

                           STIPULATION OF DISMISSAL
                       PURSUANT TO FED. R. CIV. P. 41(a)(1)(ii)

        NOW COME plaintiff, LLOYD PRICE (Aplaintiff@), and defendants, WAL-MART

LOUISIANA, LLC (“Walmart”), WAL-MART STORES, INC. (“Walmart”), STACY

MARTIN, and COCA COLA BOTTLING COMPANY UNITED, INC. (“Coca

Cola”)(collectively “defendants”), who stipulate that plaintiff’s suit against defendants, and

Walmart’s suit against Coca Cola, be and are HEREBY DISMISSED, with prejudice, with

Walmart to bear any court costs, this 7th day of April, 2019.

THE DOWNS LAW FIRM, A.P.C.                BLANCHARD, WALKER, O'QUIN &
                                          ROBERTS - (A Professional Law Corporation)

By:  /s/ Ross Downs, Jr.             By:              /s/ Scott R. Wolf
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ATTORNEYS FOR PLAINTIFF,                ATTORNEYS FOR DEFENDANTS,
LLOYD PRICE                             WAL-MART LOUISIANA, LLC, WAL-MART
                                        STORES, INC., and STACY MARTIN
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COCA COLA BOTTLING COMPANY UNITED, INC.
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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

LLOYD PRICE                                  NO.    3:17-cv-01069 RGJ-KLH

VERSUS                                       JUDGE DOUGHTY

WAL-MART LOUISIANA, LLC, ET AL MAGISTRATE JUDGE PEREZ-MONTES
                                  CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a copy of the Stipulation of Dismissal has this date been served via

the Court’s electronic mail notification system.

       Shreveport, Louisiana, this 7th day of April, 2019.


                                                             /s/ Scott R. Wolf
                                                              OF COUNSEL
